                           MEMORANDUM OPINION
{¶ 1} On February 3, 2009, appellant, Louis M. Walker, pro se, filed his notice of appeal from a January 12, 2009 judgment issued by the Lake County Court of Common Pleas denying his motion for judicial release under R.C. 2929.20.
  {¶ 2} Pursuant to Article IV, Section 3(B)(2), of the Ohio Constitution, appellate courts have jurisdiction to review, affirm, modify, or reverse judgments or final orders from *Page 2 
courts of record inferior to the court of appeals and from final orders or actions of administrative officers or agencies.
  {¶ 3} In State v. Coffman, 91 Ohio St.3d 125, 126, 2001-Ohio-273, the Supreme Court of Ohio expressly held that "a trial court's denial of a motion for shock probation is never a final appealable order." In addition, appellate courts in Ohio that have addressed this issue afterCoffman have held that the same logic is applicable to a denial of a motion for judicial release since it mirrors shock probation. State v.Woods (2001), 141 Ohio App.3d 549, 550; State v. Williams, 10th Dist. No. 07AP-1035, 2008-Ohio-1906, at ¶ 9; State v. Mayle, 5th Dist. Nos. 07-CA-0006 and 07-CA-0007, 2008-Ohio-3761, at ¶ 13; State v.Greene, 2nd Dist. No. 02-CA-17, 2002-Ohio-2595, at ¶ 6. Since there is no right to judicial release, the denial of a motion for judicial release cannot affect a "substantial right" as that term is defined in R.C. 2505.02(A)(1).
  {¶ 4} Therefore, this appeal is hereby dismissed for lack of a final appealable order.
  {¶ 5} Appeal dismissed.
MARY JANE TRAPP, P.J., COLLEEN MARY O'TOOLE, J., concur. *Page 1 